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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


     IN RE: NATIONAL PRESCRIPTION
           OPIATE LITIGATION

              This document relates to:
                                                                          MDL No. 2804
    The County of Summit, Ohio, et al. v. Purdue
                Pharma L.P., et al.
              Case No. 18-op-45090                                   Hon. Dan Aaron Polster

     The County of Cuyahoga, et al. v. Purdue
               Pharma L.P., et al.
             Case No. 17-op-45004



                        DEFENDANTS’ MOTION TO EXCLUDE
                  THE OPINIONS AND TESTIMONY OF CRAIG MCCANN

         Certain Defendants1 hereby move for an order granting Defendants’ motion to exclude

Craig McCann’s opinions and testimony in their entirety under Federal Rule of Evidence 702 and




1
     In this notice and the accompanying motion memorandum, Defendants include Purdue Pharma, L.P.;
     Purdue Pharma, Inc.; The Purdue Frederick Company, Inc.; Endo Health Solutions Inc.; Endo
     Pharmaceuticals, Inc.; Par Pharmaceutical, Inc.; Par Pharmaceutical Companies, Inc. f/k/a Par
     Pharmaceutical Holdings, Inc.; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals,
     Inc. n/k/a Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals,
     Inc.; Johnson & Johnson; Teva Pharmaceutical Industries, Ltd.; Teva Pharmaceuticals USA, Inc.;
     Cephalon, Inc.; Allergan plc f/k/a Actavis plc; Allergan Finance, LLC, f/k/a/ Actavis, Inc., f/k/a Watson
     Pharmaceuticals, Inc.; Allergan Sales, LLC; Allergan USA, Inc.; Watson Laboratories, Inc.; Warner
     Chilcott Company, LLC; Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.; Actavis South Atlantic LLC;
     Actavis Elizabeth LLC; Actavis Mid Atlantic LLC; Actavis Totowa LLC; Actavis LLC; Actavis
     Kadian LLC; Actavis Laboratories UT, Inc., f/k/a Watson Laboratories, Inc. - Salt Lake City; Actavis
     Laboratories FL, Inc., f/k/a Watson Laboratories, Inc. - Florida; Insys Therapeutics, Inc.; Mallinckrodt
     plc; Mallinckrodt LLC; SpecGx LLC; AmerisourceBergen Drug Corporation; Anda, Inc.; Cardinal
     Health, Inc.; CVS Indiana, LLC; CVS Rx Services, Inc.; Discount Drug Mart, Inc.; HBC Service
     Company; Henry Schein, Inc.; Henry Schein Medical Systems, Inc.; McKesson Corporation; Miami-
     Luken, Inc.; Prescription Supply, Inc.; H. D. Smith Holding Company; H. D. Smith Holdings, LLC; H.
     D. Smith, LLC d/b/a HD Smith, f/k/a H.D. Smith Wholesale Drug Co.; Health Mart Systems, Inc.; Rite
     Aid of Maryland, Inc. Rite Aid Of Maryland, Inc.; d/b/a Rite-Aid Mid-Atlantic Customer Support
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Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) and its progeny. As described

more fully in the accompanying memorandum, McCann’s opinions do not fit the issues of this

case and are unreliable. Accordingly, McCann’s opinions and testimony should be excluded in

their entirety.




    Center, Inc.; Walgreen Co.; Walgreen Eastern Co.; and Walmart Inc. f/k/a Wal-Mart Stores, Inc.
    (“Defendants”).

    Teva Pharmaceutical Industries Ltd., Allergan plc, and Mallinckrodt plc are respectively an Israeli
    corporation, Irish holding company, and Irish company that are not subject to and contest personal
    jurisdiction for the reasons explained in their pending motions to dismiss for lack of personal
    jurisdiction; they are specially appearing to join this motion as a result of the Court’s deadline to file
    dispositive and Daubert motions, and, thus, they do not waive and expressly preserve their pending
    personal jurisdiction challenges.

    On June 10, 2019, Insys Therapeutics, Inc. and its affiliates each filed a voluntary case under chapter
    11 of United States Bankruptcy Code in the United States Bankruptcy Court for the District of
    Delaware, which cases are being jointly administered under Case No. 19-11292 (KG). In light of this
    bankruptcy proceeding, Insys does not join any of the Daubert motions for summary judgment motions
    to be filed in the MDL Track One cases.



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Dated: June 28, 2019                Respectfully submitted,

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                                    Defendants


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                                    and Endo Pharmaceuticals Inc.; Par
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                                    Defendants




                                       3
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                               CERTIFICATE OF SERVICE

       I, Ashley W. Hardin, hereby certify that the foregoing document was served via the

Court’s ECF system to all counsel of record.



                                               /s/ Ashley W. Hardin_________
                                               Ashley W. Hardin




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